Case 1:02-cv-00299-CKK Document 77-7 Filed 09/28/04. Page1of2

EXHIBIT 7
02-CV-299
Case 1:02-cv-00299-CKK Document 77-7 Filed 09/28/04 Page 2 of 2

® FOR OFFICIAL USE ONLY ®@

No. 040001
)
UNITED STATES )
)
Vv. )
. ) Referral

DAVID MATTHEW HICKS )

a/k/a Abu Muslim al Austraili ) JUN 25 2004
a/k/a Muhammed Dawood )
)

The charges against David Matthew Hicks (a/k/a Abu Muslim al Austraili, a/k/a
Muhammed Dawood) are referred to the Military Commission identified at Encl 1. The
Presiding Officer will notify me not later than July 15, 2004, of the initial trial schedule,
including dates for submission and argument of motions, and a convening date.

John D. Altenburg, Jr. (\
Appointing Authority

for Military Commissions

FOR OFFICIAL USE ONLY on

02-CV-299
